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                     EXHIBIT D
                 D.F. et al., v. Sikorsky Aircraft Corporation, et al.
                     USDC Case No.: 13:cv-00331-GPC-KSC
                 (Exhibits to Declaration of Marshall J. Shepardson
            In Support of Opposition to Motion for Summary Judgment )
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                         JAMES M. KNOX - 05/10/2017                       ·

  ·1· · · · · · · · UNITED STATES DISTRICT COURT

  ·2· · · · · · · ·SOUTHERN DISTRICT OF CALIFORNIA

  ·3

  ·4·   ·   ·   D.F., a minor, by and· · · · )· CASE NO.
  · ·   ·   ·   through his Guardian Ad· · · )· 13-cv-00331-GPC-KSC
  ·5·   ·   ·   Litem, TASHINA AMADOR,· · · ·)
  · ·   ·   ·   individually and as· · · · · )
  ·6·   ·   ·   successor in interest to· · ·)
  · ·   ·   ·   Alexis Fontalvo, deceased,· ·)
  ·7·   ·   ·   and T.L., a minor, by and· · )
  · ·   ·   ·   through her Guardian Ad· · · )
  ·8·   ·   ·   Litem, TASHINA AMADOR,· · · ·)
  · ·   ·   ·   · · · · · · · · · · · · · · ·)
  ·9·   ·   ·   · · · · ·Plaintiffs,· · · · ·)
  · ·   ·   ·   · · · · · · · · · · · · · · ·)
  10·   ·   ·   · · · · VS.· · · · · · · · · )
  · ·   ·   ·   · · · · · · · · · · · · · · ·)
  11·   ·   ·   SIKORSKY AIRCRAFT· · · · · · )
  · ·   ·   ·   CORPORATION; SIKORSKY· · · · )
  12·   ·   ·   SUPPORT SERVICES, INC.;· · · )
  · ·   ·   ·   UNITED TECHNOLOGIES· · · · · )
  13·   ·   ·   CORPORATION; G.E. AVIATION· ·)
  · ·   ·   ·   SYSTEMS, LLC; DUPONT· · · · ·)
  14·   ·   ·   AEROSPACE CO.; E.I. DUPONT· ·)
  · ·   ·   ·   DE NEMOURS AND COMPANY; PKL· )
  15·   ·   ·   SERVICES, INC.; and DOES 1· ·)
  · ·   ·   ·   through 100, Inclusive,· · · )
  16·   ·   ·   · · · · · · · · · · · · · · ·)
  · ·   ·   ·   · · · · ·Defendants.· · · · ·)
  17·   ·   ·   _____________________________)

  18

  19· · · · · · · · ·DEPOSITION OF JAMES M. KNOX

  20· · · · · · · · · · · · · ·TAKEN ON

  21· · · · · · · · · ·WEDNESDAY, MAY 10, 2017

  22

  23

  24· ·Reported by:· DENISE A. ROSS

  25· · · · · · · · ·CSR No. 10687


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  ·1· ·can see more than what you just see in a photograph of                        11:22:19
  ·2· ·the thing.· It also has a good description in there.                          11:22:22
  ·3· ·But it also has the exact specifications for the                              11:22:26
  ·4· ·unit -- flow rates, restrictor valve limitations.                             11:22:33
  ·5· ·Things of that nature.                                                        11:22:38
  ·6· · · · Q.· ·And did you have the corresponding --                               11:22:39
  ·7· · · · · · ·You called it a manual; right?                                      11:22:44
  ·8· · · · A.· ·Yes.                                                                11:22:45
  ·9· · · · Q.· ·Did you -- did you have the corresponding                           11:22:45
  10· ·maintenance manual for the 53 Delta hydraulic module?                         11:22:48
  11· · · · A.· ·No.· There's actually probably several of                           11:22:53
  12· ·them, but I didn't have the ones for Delta.                                   11:22:55
  13· · · · Q.· ·Okay.· Did you have any drawings or diagrams                        11:22:58
  14· ·of the Delta utility module?                                                  11:23:01
  15· · · · A.· ·The schematic that we talked about earlier --                       11:23:05
  16· · · · Q.· ·Uh-huh.                                                             11:23:08
  17· · · · A.· ·-- shows the breakdown of the connectors to                         11:23:08
  18· ·the hydraulic utility module components as they are in                        11:23:12
  19· ·the Delta.· It's not one big module like it is here.                          11:23:17
  20· · · · Q.· ·As it is in the Delta?                                              11:23:24
  21· · · · A.· ·As it is in the Echo.                                               11:23:26
  22· · · · Q.· ·Okay.                                                               11:23:26
  23· · · · A.· ·The Echo is one big unit.· The Delta has                            11:23:27
  24· ·several subsections, all mounted more or less together;                       11:23:30
  25· ·but it's not one unit.                                                        11:23:34


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  ·1· · · · Q.· ·Okay.· Can you look at Exhibit 4 and tell me                         11:23:36
  ·2· ·what you're talking about when you say the -- the                              11:23:43
  ·3· ·schematic contained that?                                                      11:23:46
  ·4· · · · A.· ·Yes.                                                                 11:23:47
  ·5· · · · · · ·But do you also have the corresponding Delta                         11:23:48
  ·6· ·schematic?                                                                     11:23:52
  ·7· · · · · · ·Okay.                                                                11:23:54
  ·8· · · · · · ·MR. HICKEY:· Object to the form of the last                          11:23:56
  ·9· ·question.                                                                      11:23:58
  10· · · · · · ·THE WITNESS:· If you look in the lower                               11:23:59
  11· ·left-hand area --                                                              11:24:04
  12· ·BY MR. SHEPARDSON:                                                             11:24:06
  13· · · · Q.· ·Uh-huh.                                                              11:24:06
  14· · · · A.· ·I probably should do it this way so I get my                         11:24:06
  15· ·left and right the same.                                                       11:24:09
  16· · · · · · ·-- there is a thing here that says "utility                          11:24:11
  17· ·manifold."                                                                     11:24:13
  18· · · · Q.· ·Right.                                                               11:24:14
  19· · · · A.· ·And that is what they're talking about                               11:24:14
  20· ·here --                                                                        11:24:16
  21· · · · Q.· ·Right.                                                               11:24:17
  22· · · · A.· ·-- this utility module.                                              11:24:17
  23· · · · Q.· ·Uh-huh.                                                              11:24:19
  24· · · · A.· ·If you look at it, the top of it, you see                            11:24:19
  25· ·three connectors; and there's a 494, 495 and a "P."               I            11:24:23


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  ·1· ·can't quite remember -- read the one off -- 122 off on                        11:24:32
  ·2· ·the right-hand side.                                                          11:24:36
  ·3· · · · · · ·If you look at the corresponding diagram for                        11:24:38
  ·4· ·the Delta unit --                                                             11:24:42
  ·5· · · · Q.· ·Uh-huh.                                                             11:24:43
  ·6· · · · A.· ·-- they're spread out more because they're                          11:24:44
  ·7· ·different pieces of this module.· And they have, of                           11:24:49
  ·8· ·course, different plug numbers and wire numbers because                       11:24:52
  ·9· ·it's off a different aircraft.· But if you trace them                         11:24:55
  10· ·back, they all go and do the same things.                                     11:24:58
  11· · · · Q.· ·Okay.                                                               11:25:00
  12· · · · A.· ·So it's the same functionality there, but                           11:25:00
  13· ·it's not one nice compact unit like they put in the                           11:25:04
  14· ·Echo.                                                                         11:25:08
  15· · · · Q.· ·Okay.· So the different hydraulic functions                         11:25:09
  16· ·in the Delta were controlled by separate mechanical                           11:25:13
  17· ·components, whereas they're all controlled by a single                        11:25:17
  18· ·manifold in the Echo?                                                         11:25:20
  19· · · · A.· ·I'm reluctant to agree to that, because in                          11:25:22
  20· ·the area we primarily care about here, which is the                           11:25:27
  21· ·landing gear up and down valve, that was still one --                         11:25:31
  22· ·one sub-assembly.                                                             11:25:33
  23· · · · Q.· ·Uh-huh.                                                             11:25:35
  24· · · · A.· ·But this unit handles, as you -- or suggested                       11:25:36
  25· ·a moment ago, a number of different hydraulic systems                         11:25:41


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  ·1· ·or hydraulic valves; whereas, in the Delta, you would                         11:25:46
  ·2· ·have found, you know, kind of mounted side by side,                           11:25:49
  ·3· ·several different ones.                                                       11:25:52
  ·4· · · · Q.· ·Okay.· Do you have any drawings or depictions                       11:25:53
  ·5· ·of how those connector plugs were configured when                             11:25:59
  ·6· ·actually assembled in the aircraft?                                           11:26:04
  ·7· · · · A.· ·Which aircraft?                                                     11:26:06
  ·8· · · · Q.· ·The Delta.                                                          11:26:07
  ·9· · · · A.· ·Not on the Delta, no.                                               11:26:10
  10· · · · Q.· ·Do you have that pertaining to the Echo?                            11:26:12
  11· · · · A.· ·Yes.· Probably not 100 percent complete, but                        11:26:19
  12· ·there are photographs that were taken in the -- in the                        11:26:21
  13· ·accident aircraft at the time -- well, a couple days                          11:26:27
  14· ·later.· There are photographs that -- that I and some                         11:26:30
  15· ·of the other people with me took.· And there are                              11:26:35
  16· ·photographs -- I'm sorry.· There are diagrams of the --                       11:26:39
  17· ·of the placement of the things in these manuals that I                        11:26:45
  18· ·was talking about a moment ago.                                               11:26:49
  19· · · · Q.· ·Okay.· And based on that review, can you look                       11:26:50
  20· ·at Exhibit 5 and tell me where the P494 actual pin                            11:26:54
  21· ·connection was?                                                               11:27:06
  22· · · · A.· ·Yeah.· The 494 is the one that says "up                             11:27:08
  23· ·valve" on the bottom here.                                                    11:27:15
  24· · · · Q.· ·Right.                                                              11:27:16
  25· · · · · · ·And so is there a socket for a Cannon plug                          11:27:17


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